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                IN THE UNITED STATES DISTRICT COURT
               FOR THE WESTERN DISTRICT OF VIRGINIA
                       BIG STONE GAP DIVISION

UNITED STATES OF AMERICA                       )
                                               )
                                               )     Case No. 2:10CR00015-003
                                               )
v.                                             )     OPINION AND ORDER
                                               )
ROBERT DOSS,                                   )     By: James P. Jones
                                               )     United States District Judge
                 Defendant.                    )

      Zachary T. Lee, Assistant United States Attorney, Abingdon, Virginia, for
United States; John E. Jessee, Jessee & Read, P.C., Abingdon, Virginia, for
Defendant.

      In connection with his sentencing, the defendant objects to his classification

as a career offender under the sentencing guidelines. For the following reasons,

the objection will be overruled.

      The defendant, Robert Doss, pleaded guilty without a plea agreement to a

multi-defendant indictment charging him with conspiracy to possess with intent to

distribute and to distribute controlled substances, 21 U.S.C.A. § 846 (West 1999)

(Count One), and possessing a firearm in furtherance of a drug trafficking crime,

18 U.S.C.A. § 924(c) (West Supp. 2011) (Count Seven).

      A presentence investigation report (“PSR”) has been submitted to the court

in connection with the defendant’s sentencing. The defendant has objected to the

recommendation made in the PSR that he be classified as a career offender
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pursuant to U.S. Sentencing Guidelines Manual (“USSG”) § 4B1.1 (2010). The

court has received evidence and argument from counsel as to this issue, and the

defendant’s objection is ripe for decision.1

      Under the guidelines, a defendant is a career offender if

             (1) the defendant was at least eighteen years old at the time the
      defendant committed the instant offense of conviction; (2) the instant
      offense of conviction is a felony that is either a crime of violence or a
      controlled substance offense; and (3) the defendant has at least two
      prior felony convictions of either a crime of violence or a controlled
      substance offense.

USSG § 4B1.1(a). In this case, the defendant disputes that he has two qualifying

prior felony convictions.

      The defendant admits that he has one predicate offense, namely a 2006 state

conviction for unlawful wounding, for which he was sentenced to five years in

prison, partially suspended. The other claimed predicate is a 2001 state felony

conviction for assault and battery on a police officer. The defendant asserts that

this crime is not a predicate offense under § 4B1.1.

      The evidence presented shows that Captain Mike Reynolds of the Lee

County, Virginia, Sheriff’s Department, swore to a criminal complaint on August

21, 2000, alleging that the defendant had kicked him in the groin earlier that day


      1
          While the sentencing guidelines are advisory only, in arriving at an appropriate
sentence in this case, I must properly calculate and consider the defendant’s guideline
range of punishment. Gall v. United States, 552 U.S. 38, 49 (2007).

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while he and two other police officers were investigating a wreck in which the

defendant, appearing intoxicated, was involved. Reynolds noticed that the

defendant had a knife on his belt and when Reynolds asked the defendant for it, the

defendant kicked him. Doss was then pepper sprayed and arrested.

      Thereafter, on October 13, 2000, the defendant was indicted by a grand jury

of the Circuit Court of Lee County, Virginia, the indictment providing as follows:

             On or about AUGUST 21, 2000, unlawfully, feloniously, and
      intentionally, [the defendant did] assault and batter CAPTAIN MIKE
      REYNOLDS, knowing or having reason to know that such person
      was a law enforcement officer, engaged in public duties, in violation
      of VIRGINIA CODE SECTION 18.2-57(C), against the peace and
      dignity of the Commonwealth, which is a Class 6 felony and is
      punishable by confinement in a state correctional facility for nor less
      than one year not more than five years. Upon the evidence of: CAPT.
      MIKE REYNOLDS, LCSD.

(Def.’s Ex. 2.) On May 8, 2001, the defendant pleaded nolo contendere to this

indictment, his plea was accepted, and he was found guilty. On August 21, 2001,

he was sentenced to two years of imprisonment, with one year and four months

suspended.

      A “crime of violence” under § 4B1.1 means a felony that “(1) has as an

element the use, attempted use, or threatened use of physical force against the

person of another, or (2) is burglary of a dwelling, arson, or extortion, involves use

of explosives, or otherwise involves conduct that presents a serious potential risk

of physical harm to another.” USSG § 4B1.2(a) (2010).


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       It may be determined that a predicate conviction was a crime of violence

under either clause of 4B1.2(a). The first clause has been referred to as the “force”

clause.    United States v. Toyer, 414 F. App’x 584, 592 (4th Cir. 2011)

(unpublished). The portion of the second clause following the enumerated crimes

is known as the “residual” or “otherwise” clause. United States v. Jenkins, 631

F.3d 680, 683 n.5 (4th Cir. 2011). In interpreting these provisions, I should

consider the case precedent construing the Armed Career Criminal Act (“ACCA”),

which uses similar language.         Id. at 683.       Thus, I must use the so-called

“categorical approach” established under the ACCA, looking only to the definition

of the offense of which the defendant was previously convicted. Taylor v. United

States, 495 U.S. 575, 599-602 (1990). 2

       In Virginia, assault and battery are common law offenses, undefined by

statute, and punishable as misdemeanors. Va. Code Ann. § 18.2-57(a) (Supp.

2011). The offense of which the defendant was convicted, assault and battery on a

police officer (“ABPO”), is made a separate crime, as follows:

             [I]f any person commits an assault or an assault and battery
       against another knowing or having reason to know that such other

       2
          I cannot use the “modified categorical approach” in this case, in which the court
looks to the charging documents and other approved sources from the prior case, Johnson
v. United States, 130 S. Ct. 1265, 1273 (2010), because none of those sources here
describe the offense aside from its elements. While the complaint filed by the police
officer does allege the particular facts of the crime, it is not a charging document from the
sentencing court, and thus is off limits. See United States v. Harcum, 587 F.3d 219, 234-
35 (4th Cir. 2009).
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      person is a . . . law-enforcement officer . . . engaged in the
      performance of public duties, such person is guilty of a Class 6 felony.

Va. Code Ann. § 18.2-57(c) (Supp. 2011).

      The Fourth Circuit has held that simple assault and battery in Virginia are

not offenses involving “physical force,” because they include acts of mere

offensive touching. United States v. White, 606 F.3d 144, 147-149 (4th Cir. 2010).

White did not involve an interpretation of either the Armed Career Criminal Act or

the career offender provisions of the Sentencing Guidelines, but rather the statutory

definition of a misdemeanor crime of domestic violence, which requires the

offense to have as an element “the use or attempted use of physical force.” 18

U.S.C.A. § 921(a)(33)(A)(ii) (West 2000 & Supp. 2011). Nevertheless, the Fourth

Circuit’s holding is authoritative as to the career offender guideline, since the same

analysis is required.3

      Based on White, I find that the Virginia ABPO offense cannot be determined

to be a violent felony under the force clause of USSG § 4B1.2(a), and thus I must
      3
          The White decision was criticized and not followed by the Third Circuit in
United States v. Vincencio-Martinez, 404 F. App’x 633, 636 n.7 (3d Cir. 2010)
(unpublished), on the ground that White overlooked contrary Virginia case law. This was
an unusual criticism, in light of the fact that White was authored by Circuit Judge G.
Steven Agee, a former judge of the Virginia Court of Appeals and justice of the Virginia
Supreme Court. While I am obligated to follow White regardless, I believe that Judge
Agee was correct. See Perkins v. Commonwealth, 523 S.E.2d 512, 513 (Va. Ct. App.
2000) (“An assault and battery is the unlawful touching of another. . . . The defendant
does not have to intend to do harm [and] [t]he touching need not result in injury.”)
(holding that there was sufficient evidence to convict teacher of assault and battery when
he stroked the hair of a female student in a sexual manner).

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move to examine the residual clause in the light of recent Supreme Court

precedent.

       In its most recent case, Sykes v. United States, 131 S. Ct. 2267, 2277 (2011),

the Supreme Court held that a defendant’s prior conviction under Indiana law for

knowing or intentional flight from a law enforcement officer by vehicle was a

violent felony under the ACCA’s residual clause.              The Court noted that in

comparison to the clause’s enumerated offenses, fleeing in a car from police

creates a similar risk of danger, in that there is a possibility that the “police will, in

a legitimate and lawful manner, exceed or almost match his speed or use force to

bring him within their custody.” Id. at 2273. Unlike its earlier decision in Begay

v. United States, 553 U.S. 137 (2008), in which the Court held that driving under

the influence was not a predicate crime, the Court in Sykes pointed out that fleeing

police in a vehicle was not a offense “akin to strict liability, negligence, and

recklessness crimes.” 131 S. Ct. at 2276.

       While there is no doubt that the proper interpretation of the language of the

residual clause is “ever evolving,” id. at 2287 (Scalia, J., dissenting), 4 this latest

interpretation of the residual clause convinces me that the defendant’s conviction for

ABPO in Virginia is a predicate offense. See Miller v. United States, No. 02-10054-

       4
           “If it is uncertain how this Court will apply [our residual clause] cases going
forward, it is even more uncertain how our lower-court colleagues will deal with them.”
Derby v. United States, 131 S. Ct. 2858, 2859 (2011) (Scalia, J., dissenting from denial of
cert.).
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WGY, 2011 WL 2422845, at *3 (D. Mass. June 16, 2011) (finding that First Circuit

precedent holding that the crime of ABPO is a predicate offense under the residual clause

is even stronger after Sykes). Like fleeing in a vehicle from police, any assault and

battery on a police officer, no matter how slight, is bound to pose the likelihood of

reaction and thus “‘a serious risk of actual or potential physical force,’” resulting in

injury. United States v. Dancy, 640 F.3d 455, 470 (1st Cir. 2011) (quoting United States

v. Fernandez, 121 F.3d 777, 780 (1st Cir. 1997)) (holding that ABPO is a predicate

offense); see also United States v. Williams, 559 F.3d 1143, 1149 (10th Cir. 2009)

(noting that battery of a police officer risks more potential violence that illegally touching

a non-law enforcement person and thus is a predicate offense).

       For these reasons, I find that the defendant’s prior conviction for ABPO is a

violent felony within the meaning of the career offender guideline and overrule his

objection.

       It is so ORDERED.

                                                   ENTER: August 27, 2011

                                                   /s/ James P. Jones
                                                   United States District Judge




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